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 5
                                     UNITED STATES DISTRICT COURT
 6                                  WESTERN DISTRICT OF WASHINGTON
 7

 8        Ramon Diego Diego,                           NO. 2:21-cv-00304-JLR

 9                                    Plaintiff,
                  v.                                   FIRST AMENDED COMPLAINT
10
                                                       FOR UNFAIR COMPETITION
11        Apoorva Meta and Maplebear Incorporated
          dba Instacart,                               AND RESTRAINT OF TRADE
12
          Apple Corporation
13                                                     Jury Trial: No
          Alphabet Corporation DBA Google,
14
          The Kroger Company,
15
          Costco Wholesale Corporation
16

17                                    Defendants

18

19                             I.     THE PARTIES TO THIS COMPLAINT

20   1.       Plaintiff

21              Ramon Diego Diego
                111 South Jackson Street
22
                Seattle, King County
23              Washington 98104
                360 502-2981 Voice & Text
24
                rdd@localdeliveryto.me
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 1   2.       Defendant(s)

 2              Defendant No. 1

 3                  Apoorva Mehta and Maplebear Incorporated DBA
                    Instacart
 4                  50 Beale Street Suite 600
                    San Francisco, San Francisco County
 5
                    California 94105
 6                  888-246-7822
 7

 8
                Defendant No. 2
 9
                    Apple Corporation
10                  One Apple Park Way
                    Cupertino, Santa Clara County
11
                    California 95014
12                  800-275-2273

13
                  Defendant No. 3
14
                       Alphabet Corporation DBA Google
15                     1600 Amphitheater Parkway

16                     Mountain View, Santa Clara County
                       California 98043
17
                       650 253-0000
18
                Defendant No. 4
19
                     The Kroeger Company
20
                     1014 Vine Street
21                   Cincinnati, Hamilton County

22                   Ohio 45202
                     800 576-4377
23

24

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 1            Defendant No. 5
 2                Costco Wholesale Corporation

 3                999 Lake Drive
                  Issaquah, King County
 4
                  Washington 98027
 5                425-313-8100

 6
                                     II.    BASIS FOR JURISDICTION
 7
     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
 8

 9
                                     III.   NATURE OF THIS ACTION
10
     This is an action for restraint of trade and unfair competition under the laws of the United States
11
     (the Sherman Antitrust Act, codified at 15 U.S.C. § 1, et seq.), and the common law of restraint
12
     of trade and unfair competition.
13

14                             IV.    PLAINTIFFS STATEMENT OF CLAIM

15   The plaintiff is the developer and sole proprietor of a Web based grocery and takeout-food

16   delivery platform doing business as localdeliveryto.me. This platform provides order taking,

17   address mapping, credit card acceptance, text messaging and support services which allow

18   independent delivery-service operators to take online orders directly from their customers and

19   efficiently make deliveries. Independent delivery-service operators pay a monthly fixed fee to

20   localdeliveryto.me for shared use of the platform. Those independent operators may then freely

21   pursue their trade within their designated geographical area.

22
     The defendants have formed a cartel which operates as an online grocery shopping and delivery
23
     service known on the Web as Instacart. The cartel provides online ordering of groceries by
24
     consumers. It endeavors to have grocery orders delivered to the customer’s doorstep in about an
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 1   hour. The cartel uses a class of worker which it refers to as “Full-Service Shoppers” to do the

 2   picking and delivery of the grocery orders. While the cartel would have us believe these workers

 3   are independent contractors they are controlled and directed by the cartel as employees.

 4   Fraudulently classifying Full-Service Shoppers as independent contractors dramatically reduces

 5   the cartel’s cost of operation allowing it to offer its shopping and delivery services to consumers

 6   at prices with which no legitimate service provider can compete. This predatory pricing

 7   constitutes unfair competition and restraint of trade against localdeliveryto.me. Unfair

 8   competition and restraint of trade is prohibited by the Sherman Antitrust Act and common law.

 9
     Exhibit A: Instacart customer app.             Exhibit B: localdeliveryto.me app.
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 1                                   V.    FACTUAL ALLEGATIONS

 2   In the parlance of the Internet, a platform is a collection of services which allow individuals and

 3   enterprises to conduct various online activities without the need to develop or understand the

 4   underlying technology that makes those activities possible.

 5
     By example, eBay is an online auction platform. It allows individuals to conduct online auctions
 6
     of their wares without the need to develop and maintain the “back end” servers, computer code
 7
     and underlying business processes that make those auctions possible.
 8

 9   The plaintiff has developed a grocery and takeout-food delivery platform which allows

10   independent delivery-service operators to take orders from their customers and efficiently deliver

11   those orders to the customer.

12
     The defendants have formed a cartel which operates as an online grocery-ordering and-delivery
13
     service directed at consumers. Several busines-practices of the cartel flagrantly violate Federal
14
     statutes. For example, by fraudulently classifying its workers as independent contractors, the
15
     cartel evades the employer-paid portion of Federal employment taxes and other Federally
16
     mandated employer costs. Evading Federal employer taxes significantly reduces the cartel’s cost
17
     of labor. These ill-gotten savings allow the cartel to offer its delivery services to consumers at a
18
     price far less than can be offered by legitimate operators who follow the rules.
19
     Like the legs of a three-legged milking stool, each member of the cartel participates in one of
20
     three essential roles. And just as the milking stool must have all three legs intact to function, the
21
     cartel must have at least one member in each of three roles:
22

23                    Recruitment and management of the order-picking-and-delivery workers.
24

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 1                    Distribution and messaging-services for the mobile-device app used to recruit,

 2                     track and direct the workers.

 3
                      Supply of product and the premises from which the workers pick the cartel-issued
 4
                       orders and then deliver those orders to the cartel’s customer.
 5

 6            There is little, if any, overlap of roles within the cartel. Each cartel member knowingly

 7   and willfully participates in one interdependent role. For example, the cartel must have

 8   continuous access to the push-messaging features provided by the app platform. The app

 9   platforms’ push-messaging system is an essential component in the command and control of the

10   cartel’s workers. Should a cartel member serving in the app distribution role choose to withdraw

11   from the cartel, that member could block the use of push-messaging for the cartel’s Shopper App

12   with a single terminal keystroke in the appropriate form. This would bring the cartel’s delivery

13   system to an instantaneous halt.

14
              The overarching offense that allows the cartel to offer its service at below-cost prices is
15
     the fraudulent classification of its workers as independent contractors.
16

17   1.       Fraudulent Classification of Workers

18            The cartel employs a class of worker known as "Full-Service Shoppers''. The cartel, after

19   accepting an order from a customer for home-delivered groceries, compiles the information

20   needed to fulfil that order into an electronically transmittable form which they call a “batch”.

21   Summaries of pending batches are frequently transmitted over the Internet to a select group of

22   Full-Service Shoppers by way of the Shopper App. The worker who volunteers for and is

23   assigned a given batch is dispatched to a specific grocery store to pick the order and deliver it to

24   the cartel’s customer. Deliveries are made by the worker in the worker’s personal vehicle.

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 1            At all points during the work assignment and order picking process the worker is directed

 2   by the cartel through the app. For example, the cartel must explicitly approve each item going

 3   into the grocery cart before the next item on the cartel-supplied list can be picked. Additionally,

 4   the cartel facilitates direction of the worker by the customer through in-app text-messaging.

 5   Workers must respond to and execute all changes initiated by the customer during the order

 6   picking. It is common for a worker to receive a request from the cartel’s customer for additional

 7   items, even after the worker has entered the checkout line. At the checkout counter the groceries

 8   are paid for with a cartel-issued debit card. Direct control of the worker does not stop at

 9   checkout. If there are multiple delivery locations for a given batch, the sequence in which those

10   deliveries are made is dictated by the cartel.

11
              The defendants have fraudulently deemed each Full-Service Shopper to be an
12
     independent contractor. As such, the cartel does not pay the mandated costs borne by employers
13
     such as the employer’s portion of Federal Employment Taxes (FICA Part One and Two), the
14
     Federal Unemployment Tax and state Worker’s Compensation insurance. Additionally, by
15
     disavowing Full-Service Shoppers as employees, the cartel deflects liability for damage and loss
16
     to its customers and the public at large that might be caused by an accident or negligence during
17
     the delivery stage of a work assignment.
18

19            The United States Internal Revenue Service applies what are known as Common Law

20   Rules to determine if a worker is an employee or an independent contractor. The Common Law

21   Rules are divided into three categories: Behavioral, Financial and Type of Relationship. The IRS

22   cautions that no single factor determines the type of relationship that exists between the worker

23   and the employer but that employers must “consider the degree or extent of the right to direct

24   and control”. As the cartel maintains absolute tracking and control of the workers from the

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 1   moment a worker starts an assignment until the moment the assignment is reported as complete,

 2   the empirical relationship between the cartel and the Full-Service Shopper is that of employer

 3   and employee. Should there be any question regarding the relationship, the IRS provides for

 4   submission of Form SS-8 by the employer. Using information truthfully provided by the

 5   employer on Form SS-8, the IRS will determine the appropriate classification of the worker. The

 6   plaintiff has reason to believe that the cartel does not possess a SS-8 determination in their favor

 7   for Full-Service Shoppers.

 8
              Full-Service Shoppers perform what has come to known as gig work. The term gig work
 9
     derives from the musician’s custom of performing a few hours at one place one night and a
10
     different place the next night. Among musicians these became known as “gigs”. There have been
11
     recent court determinations that most gig workers are not independent contractor, they are
12
     employees. The California Courts have determined that gig workers are employees. In March
13
     2021 the Supreme Court of the United Kingdom ruled that gig workers are employees under UK
14
     law.
15

16            In fraudulently classifying their Full-Service Shoppers as contractors, the cartel engages

17   in the following criminal conduct:

18
     2.       Evasion of Federal Employee Taxes
19
              There are two Federal taxes imposed on employers. In the case of FICA, fifty percent of
20
     the tax is paid by the employer and fifty percent by the employee. In the case of FUTA, the tax is
21
     paid by the employer. By fraudulently classifying its Full-Service Shoppers as contractors, the
22
     cartel evades all Federal employee tax.
23

24

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 1   3.       Failure to Provide Worker's Compensation Insurance

 2            Worker's compensation insurance is Federally mandated but managed at the State level.

 3   Its primary purpose is to pay the medical costs of workers who suffer an injury while working.

 4   By fraudulently classifying its Full-Service Shopper workers as independent contractors the

 5   cartel does not pay, nor are the worker's eligible for, workers compensation insurance A worker

 6   who is seriously injured by slipping on an icy concrete driveway during a grocery delivery will

 7   have no compensation for medical attention or lost work time. Their only recourse would be to

 8   take legal action against the homeowner. This would come as a surprise to the homeowner as,

 9   having placed their grocery order with their trusted local grocer, the homeowner would have a

10   reasonable expectation that the person delivering that order would be a bona fide employee; that

11   the delivery person would be insured for injury and property damage while on the homeowner’s

12   property.

13
     4.       Violation of Federal Wage and Hour Rules
14
              Federal law provides that employees must be paid no less than the Federal or State
15
     minimum hourly wage, whichever is greater. In an analysis of earnings records from 550 worker
16
     dispatches submitted by informants over a six-month period, the hourly equivalent worker-pay
17
     for those assignments ranged from $2.11 per hour to $6.50 per hour. The next page contains
18
     exhibits comparing the worker pay paid by the cartel on a typical dispatch with the equivalent
19
     pay for an employee in a state with a $12.00 per hour minimum wage.
20

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14                                                  Exhibits

15                                                  Top Left: A typical work offer made
                                                    by the cartel to its Full-Service
16                                                  Shoppers showing the approximate
                                                    location of the proposed delivery, a
17                                                  summary of items to be picked and
                                                    the likely amount of worker pay upon
18                                                  acceptance and completion.

19                                                  Top Right: The earnings report
                                                    available to the worker upon
20                                                  completion of the work assignment.

21                                                  Bottom Left: An analysis of the
                                                    worker pay. The Mandated column
22                                                  shows pay and Federal taxes for
                                                    equivalent work in a state with a
23                                                  $12.00 per hour minimum wage. The
                                                    Paid column shows the amount paid
24                                                  by Instacart for this job.

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 1   5.       Solicitation of Insurance Fraud

 2            Consumer automotive insurers such as Geico, Allstate and State Farm explicitly and by

 3   name deny coverage for a vehicle used to deliver for Instacart. They categorically reject all

 4   claims by their insured that involve an Instacart delivery. An Instacart worker without

 5   commercial automobile insurance accidentally backing over a toddler riding her Hot Wheels in

 6   the customer’s driveway at dusk will face the financial and legal consequences alone. The cartel

 7   believes itself indemnified from such claims by their fraudulent independent contractor

 8   agreement with the worker.

 9
              Because commercial insurance is both expensive and challenging to obtain for an
10
     individual, most Full-Service Shoppers do not carry it. Though commercial insurance is
11
     mentioned as a requirement in the fine print of the shopper agreement, it is never mentioned
12
     again by the cartel. The cartel has ample means to verify rule compliance by its workers. For
13
     example, Full-Service Shopper workers must answer a four question COVID-19 screening
14
     questionnaire every day they work for the cartel. They are randomly required to submit "selfies".
15
     The Full-Service Shopper worker is never asked for proof of insurance or required to name the
16
     cartel as additional insured. According to informants, the word on the street is: "If you get in an
17
     accident, lie to the investigator when they get to the question “Were you delivering for Instacart,
18
     Grub-Hub or Door Dash when the accident occurred?”
19

20   6.       Class Discrimination of Workers

21            The Kroeger Company member of the cartel operates grocery stores under many brands

22   including QFC and Fred Meyer. In addition to the typical mix of hourly employees such as

23   checkers and stockers, this cartel member employs order pickers who pick orders for the store’s

24   Curbside Pickup service. A single checkbox on the QFC online grocery ordering screen will

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 1   determine if the customer’s order is picked by a Kroeger employee, an employee who enjoys the

 2   benefits of a unionized wage, sick leave, paid vacation, unemployment insurance, worker's

 3   compensation insurance, health insurance and a 401 K; or the cartel’s fraudulently classified

 4   Full-Service Shopper paid as little as $2.11 per hour.

 5
              The Costco member of the cartel has long operated a service delivering Costco products
 6
     to offices and businesses. From all outward appearances this delivery service is and always has
 7
     been a model operation. It uses clean well maintained delivery trucks operated by friendly and
 8
     efficient uniformed drivers who consistently deliver accurately picked orders on time to Costco
 9
     customers. Costco is aware of the cost to acquire, insure and maintain a delivery fleet and to hire,
10
     train and pay workers to pick and deliver orders for its products. Their participation in the cartel
11
     clearly demonstrates complicity with the exploitation and discrimination of Full-Service
12
     Shoppers who choose Costco batches.
13

14   7.       Fraudulent Representation of a SEC Registered Security

15            The financial press has reported that Instacart has raised billions of dollars from private

16   equity firms to finance what is essentially a cash business. A cash business is one in which the

17   business collects the full amount of their service at the time it is delivered. Conventional wisdom

18   points to a cash business requiring less investment capital than businesses which require

19   significant investment in research and development and plant construction and must recruit and

20   train a skilled workforce, acquire inventory and offer terms to their customer. The plaintiff

21   believes Instacart has used the bulk of those billions in investment to subsidize free and below-

22   cost delivery in their quest to build a customer base for the cartel’s shopping and delivery

23   service. Though on its face this practice may be legal, the cartel is fulfilling those orders with

24   fraudulently classified and exploited workers.

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 1            In their offering circular, Instacart assures investors that their business practices represent

 2   a sustainable business model. The use of business practices which evade taxes in pursuit of trade

 3   is not a business model, it is a criminal enterprise and historically not sustainable. In United

 4   States v Capone, the notorious gangster Al Capone did not go to prison for the brutality and

 5   murders he committed; he was not held accountable for prostitution and numbers running. The

 6   defendant, Mister Capone, went to prison first and foremost for evading Federal taxes.

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 1                                             VI.    PRAYER

 2            WHEREFORE, Ramon Diego Diego dba localdeliveryto.me prays for the following

 3            relief:

 4   1.       A permanent injunction requiring the Instacart led cartel to cease the practice of

 5            fraudulently classifying its Full-Service Shoppers as contractors, a practice which

 6            perpetrates unfair competition and restraint of trade against Ramon Diego Diego dba

 7            localdeliveryto.me.

 8   2.       A temporary injunction requiring Apple and Google to deactivate the Instacart Shopper

 9            App on their respective platforms until such time as the cartel complies with existing

10            Internal Revenue Service guidelines and Federal employment statutes in respect to Full-

11            Service Shoppers.
12
     3.       An award to Ramon Diego Diego dba localdeliveryto.me of treble damages to
13
              compensate for the cartel’s unfair competition and restraint of trade, in an amount to
14
              be proven at trial, including the actual damages and loss of business opportunity.
15
     4.       An award of attorneys’ fees.
16
     5.       Punitive damage in the form of reparation for all former and current Full-Service
17
              Shoppers workers though recalculation and payment of earnings and employment taxes
18
              based on all accrued “active time” shown on batch earnings screen in the Shopper App,
19
              calculated at no less than the prevailing minimum hourly wage in the state where the
20
              work was performed.
21
                                  VII.   CERTIFICATION AND CLOSING
22
              Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
23
     knowledge, information, and belief that this complaint: (1) is not being presented for an improper
24

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 1   purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

 2   (2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

 3   reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

 4   identified, will likely have evidentiary support after a reasonable opportunity for further

 5   investigation or discovery; and (4) the complaint otherwise complies with the requirements of

 6   Rule 11.

 7            I agree to provide the Clerk's Office with any changes to my address where case-related

 8   papers may be served. I understand that my failure to keep a current address on file with the

 9   Clerk's Office may result in the dismissal of my case.

10            Date of signing:             07 APR 2021

11            Signature of Plaintiff

12            Printed Name of Plaintiff    Ramon Diego Diego

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